Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page1ofi17

4/29/2025

To whom it may concern:

| have known Jamie McGowan in a professional capacity for the past 13 years. | have always
known Jamie to be a straight shooter and her work ethic has always been impeccable and by

the book.

| have seen Jamie in the role as a loving, caring mother as well as a dedicated and hard
worker for her parent’s accounting business. | have always had the utmost respect for her and

appreciated the work guidance she provided to me during my beginning days in the office.

| find it absolutely inconceivable that she would be accused of knowingly doing anything that
would jeopardize her job or family and | respectfully ask the court to take that into

consideration.

Sincerely,

Cindy Albright
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page2of17

Your Honor,

My name is Eric Arango, | have spent the past 20 years in the hospitality industry, most
recently serving as Vice President of Sales and Senior Director of Sales/Customer
Relations for Hilton Grand Vacations.

I’ve known Jamie McGowen for several years, and during that time, | have always known her
to be someone with strong values, family oriented, and a strong willingness to help others.

Jamie has supported me personally, helping me stay organized and focused with certain

aspects of my business. Her character has always stood out - leading with honesty and
doing what’s right.

From everything | know about Jamie, this situation feels completely out of character. I’ve

always trusted my instincts when it comes to people, and I’ve always viewed Jamie as
someone grounded, honest and genuine.

| hope this provides helpful insight as you consider the outcome.

sincerely,

Eric Ar O
oA

ZA

Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page3of17

April 28, 2025

Your Honor,

I’m writing this letter in support of Jamie McGowen. In 1989, | became employed
by the Women’s Center-High Desert, Inc. | have worked for this non-profit for 36
years. | first met Jamie at the agency's accounting office. She was just a little gir!
then. Over the years, Jamie became a close friend of my family. She and my
daughter Breanna played softball together for many years. Jamie went on to play
softball at the college level. She was dedicated to her team and her sport. Before
leaving for college, Jamie worked for me at the Women’s Center-High Desert. She
helped with the data reports and inputting confidential information into our
computer system. Jamie was always professional, kind, and a team player.
Women’s Center-High Desert provides services to women, men, and children who
are victims of domestic violence, sexual assault, and human trafficking. She knew
the importance of our work and the need to keep all information confidential.
Over the years, | watched Jamie grow into an amazing wife and mother. She has
always been a hard worker. | have seen her show 100% dedication to her clients
through her current job. In addition to working long hours and traveling to many
states to provide services to her clients, she has always made time for her son.
Making sure that she could be there for school events and after-school activities.

I’m shocked by Jamie's arrest. It is completely out of character for her, and there
must have been some mistake or misunderstanding. | would never expect
anything like this to happen to her. She has always been very trustworthy and
above board. | pray that the court show compassion and leniency for Jamie. She
is a wonderful, caring mother and an amazing person.

Thank you for your time.
Sincerely,
Canok Bascr of

Carol Beecroft
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page4of17

To whom it may concern:

lam writing this letter in support of Jamie McGowen. As you read through the other letters that
have been written for her, you will find some commonalities: 1. Her love for her family, and in particular
her son. 2. Her unyielding loyalty to those close to her, 3. Her ability to overcome challenges in her life
and 4. Her ability to provide financially for her family as the primary source of income.

| have known Jamie for close to 20 years, and in that time-frame she has become my sister-in-
law. Through her sister | learned a lot about Jamie and her childhood. School was not easy, and she
struggled with dyslexia and being properly diagnosed. This obviously did not stop her from not only
graduating high school, but also receiving an athletic scholarship and ultimately graduating college. The
reason | bring this up is because it shows how hard she had to work to become successful, and school
was not easy for her unlike it was for her sister.

Jamie immediately accepted me into the family, and | could see how protective she of those
close to her in her life. | admire how protective she really is, and | have seen through the years just how
unselfish she is. She would drop whatever she is doing to help me or anyone close to her, and that noble
quality is found in few people in my life.

This unselfishness is evident with how she raises her son. She absolutely loves that boy will all
that she is. He is undoubtably the #1 priority in her life, and him being 15 years old, there is not a more
important time for him to have him mom in his life. Jamie is a wonderful mother, and there isn’t a
greater compliment | could give someone that if God forbid something happened to me, she could raise
my two daughters with hesitation.

| am not privy to the financial earning of the McGowen family, but | do know that Jamie is the
primary source of income in the family, has been for a long time, and will continue to be. Her work ethic
is second to none and without her ability to work | don’t know how they could financially make it.

In closing, Jamie is a wonderful person and even a better mom. Her loyalty to her family and her
work ethic is second to none. | am proud to call her my sister-in-law and proud to be a part of her life.

Best Regards,

Steve Dilley
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page5of17

Your Honor — May 4, 2025

| am Ken Foster, a retired federal Social Security Administration quality
assurance regional director, married to Jamie McGowen’s aunt, Lori
Foster. | met Jamie circa 1997 when Lori and | were dating. Jamie was
still in high school when we met.

| only understand the general issue here of the charges against Jamie. |
know nothing of the facts presented in this case. While over the years
I’ve known Jamie, | have not seen Jamie more than a few times per year,
| have watched her grow and evolve in all manners; i.e., morally,
intellectually and ethically.

Jamie McGowen, by my personal interaction and observation, is not
capable of knowingly deceiving or cheating another human being,
known or unknown to her. While the facts may show that she
committed a serious legal infraction, | am sure she did so unknowingly.

Jamie and | have shared many of our personal views/opinions over the
years that only reinforce my foregoing opinion. She has always shown
concern for her fellow man and has also expressed her compassion for
all others in this world.

Whatever the incident, I’m absolutely sure that Jamie was not

intentionally malicious.
, i / J

/ Sy 4 fo

Ati P—

Ken Foster
Tucson, AZ
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page6éof17
May 4, 2025

Your Honor,

| am writing this on behalf of Jamie McGowen. | have known Jamie her entire life as | am her
aunt. | know her to be a straightforward, honest woman dedicated to her family and work.

Growing up, Jamie was a loving, energic and comedic child. It was apparent that making
everyone laugh and get along was important to her, even if the laughter came at her expense.
As the years went by, | witnessed her become a responsible, caring woman who in spite of her
dyslexia issues successfully graduated from college while pitching for her college's softball
team. Not an easy feat. Despite her achievements, she was never a braggart.

In recent years, Jamie and | interact via email and text message due to our living locations,
however, last fall, we did meet while my husband and | were in California. Jamie and her son,
Collin, met us for lunch. | was so impressed by Collin. His maturity level, his respectfulness and
his love for his mother was apparent. It was crystal clear that Jamie is an extraordinary
mother. Their direct connection is critical to Collin's future, both monetarily (she is the primary
wage earner in her family) and morally.

Jamie is not cunning, clever or purposely deceptive. | truly don't believe that she would know
how to be a conniver. It's just not her nature. She is kind, trusting and accepting of others and
their viewpoints. She is somewhat guileless.

| don't know the details of the issues at hand, but | am confident that Jamie unwittingly made a
mistake and no doubt is regretful.

Thank you for considering this.

Lori Foster
Tucson, AZ
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page/7of17

Your Honor,

| have known Jamie McGowen her entire life; she is my younger sister. ’ve seen her grow from
a little girl into an intelligent and hard working woman. When she was young, she didn’t really
excel in school and had challenging times. Schoolwork, and in particular, reading, was difficult
for her and for a while nobody new why. Jamie was diagnosed with dyslexia in elementary
school, even after the diagnosis her struggles with school/reading continued. It was
challenging for her, having a sister who didn’t struggle in those same ways. Especially, an older
sister, whom she was compared to (by teachers, coaches, family members). For a long time,
her dyslexia diagnosis and these comparisons, contributed to feelings of inferiority. However,
she kept working hard to overcome this and show everyone how capable she is. This
dedication led her to attend college, receive a scholarship to play softball, where she met and
made lifelong friends. People who meet my sister, love her. She makes you feel comfortable in
your own skin. Jamie is charismatic and someone you want in your life. Jamie is fiercely
protective of people, especially those she loves. Growing up, she was the first to defend me if
she felt | was being hurt. | continue to see this today, especially in how she protects her son.
She is an amazing mom, protective and loving. Her number one priority is her son and his well-
being. She would never do anything intentionally to jeopardize that. From the moment she
found out she was pregnant, she has quite literally put his needs above hers in every way.
Jamie is the primary caretaker and bread winner in her family and her family relies on her as
their primary source of income. Having her unable to provide would be devastating to the
family. Her son is also at a critical age (15 years old). He needs his mom. She has been the one
constant in his life. They have an extremely close relationship. | am so proud of her, creating
such a special bond with her child and maintaining it into his teen years. | aspire to have that
with my own children when they reach that age. Jamie is a very special person. As her sister, |
always wished | was a little more like her. She is smart, kind, tough, witty, charismatic, devoted
to her family and just a good person, with a good heart. | am sitting here devastated and in
disbelief. This situation is completely out of character for Jamie. In my heart of hearts, | don’t
believe she would do anything like this with malice or intent. | Know she is completely
destroyed by this situation and utterly devastated. She has expressed her sadness and regret
to me in conversations we’ve had. Again, | don’t believe she would intentionally do anything to
risk her family, security or freedom. Jamie is the heart of her family and our extended family.
She is a valuable, contributing member to our society. Her family, friends, colleagues and
clients love her and need her in their lives. | respectfully ask you to consider leniency during her
sentencing. Thank you for your time and consideration.

Respectfully,

Kelli Killeen
(Sister of Jamie McGowen)
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page8of17

May 4, 2025
Your Honor,

I have known Jamie McGowan her entire life, as I am her aunt. Although we live in different states,
we have had frequent interactions over the years, mostly during summers and Christmas.

Jamie is a caring and kind woman who takes care of her family, working long hours to provide for
her household. During her visits to Seattle, she helped with the cooking and cleaning so her
Grandmother could get some rest and not be burdened with all the work. She is aware of others'

feelings and is careful to include everyone in planned activities.

Jamie has always been honest and hardworking, giving her son a good example of how to live his
life, and making her extended family proud.

Thank you,

Patricia A. Lane
Case 3:22-cr-O0360-AN Document 49-1 Filed 05/07/25 Page9of17

Bud & Gayle Leech
18240 SW Madeline St
Beaverton, OR 97007
bleech81@gmail.com

April 24, 2025

To Whom It May Concern,

We are writing this letter in support of Jamie McGowen, whom we have known for nine years
through our former employment at Al's Trailers & Courtesy RV, where Jamie served as a
manager and co-owner.

We are now retired but throughout our time working with Ms. McGowen, we found her to be a
person of integrity, professionalism, and strong values. She was consistently respectful,
approachable, and deeply committed to the well-being of staff and the success of the business.
Her dedication and work ethic were clearly evident in all that she did, and she earned our trust
and respect as both a manager and as an individual. Outside of the workplace, we also came to
know her as a devoted wife, mother, and person of faith.

In our employment Jamie provided support & was an excellent resource for issues or strategies
involving day-to-day operations. Major company-wide directives & financial decisions were
made or reviewed for approval by the primary owner Mr Dhar Undleeb, per his request.

We are deeply concerned by the allegations currently before the Court, as they do not align with
the character or conduct we observed in Jamie over the years. Based on our experience, we
believe Ms. McGowen always acted in good faith and followed company directives from those
with higher authority.

We offer this reference in the hope it will help provide a fuller picture of Jamie’s character and
long standing reputation as a trustworthy and honorable worker, manager, wife, mother &
individual.

Please do not hesitate to contact us if additional information would be helpful.

Sincerely,
Bud Leech (Former Sales Manager) 503-803-4460
Gayle Leech (Former Office Administrator) 503-523-7357
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page 10of17

My mom has been my best friend since | could remember. Since | started making
memories, | always just viewed her as the person closest to me, and someone that |
aspire to be like. She is one of the strongest people | have ever met, and she continues
to blow me away. The way she is able to handle so many things being thrown at her at
once, the stress of her job, and basically raising me without much help from my dad is
something | will always admire. She is the person | feel closest too, the person | could
tell anything and never question if she would support me or not. My safe space. Many
children, especially teenagers at my age are not always able to tell their mom
everything, or things that are on their mind, but that has never been something | have
had to worry about. However, | am often worried about how | am perceived by other
people, but with her | am never worried about her judgement or possibly disappointing
her. | know she is proud of me and she will continue to support me through every
decision | make and she has always made sure | know that.

| will continue to admire the way she always made an effort to be such a big part
of my life, and the way she was able to form a special relationship with me since | was
little, which is something my dad was, and still is not the best at doing. Since then, that
connection with my mom has only gotten stronger. Even little errands that we run
together, like grocery shopping have always been my favorite memories. She is
genuinely one of the few people | feel is completely interested in me as a person, and
will always be proud of me. Everything | do, things like academic accomplishments and
honor roll certificates have always been to make her proud even though | know if |
wasn’t the best at school and other things, that she would still be proud of the person |

am, and I’ve never questioned that.
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page11of17

| do not have the closest relationship with my father, ever since | was little, but in
some ways | am able to see the positives in that, because it's only brought my mom and
| closer. The relationship | have with my dad will always remind me to never take my
relationship with my mom for granted, because that’s not common with every family.
She is a light to everyone close to her, and when | mention her to my friends or others
close to me, they always tell me how cool she sounds, and how they wish they had a
mother they felt they had a connection with that way. We have been through a lot
together, and that hasn’t been easy, but | will forever be grateful for the person she is
raising me to be today, and the person | will grow into because of her. My life would be
very different without her, and that is something that | have trouble and try to avoid
thinking about. | am still growing up, and have a lot to learn and find out for myself, but
her positive impact she has had on me as a person is something that | will always be

grateful for, and it is something that | will never take for granted.
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page 12of17

Wednesday, May 7, 2025 at 4:55:27 PM Eastern Daylight Time

Subject: Fw: friends of jamie McGowen

Date: Wednesday, May 7, 2025 at 2:14:02PM Eastern Daylight Time
From: Katryna Spearman

To: Anna Bierley

Please copy the below letter into a word document, convert to PDF and save in clio

Katryna Lyn Spearman, Esq.*

LOWTHER | WALKER LLC

101 Marietta Street, NW, Suite 3325, Atlanta, GA 30303

© 404.496.4052 | M 470.834.5072 | F 866.819.7859
kspearman@lowtherwalker.com | http://www.lowtherwalker.com

Sent from Mobile

*Admitted: US Supreme Court, Supreme and Superior Courts of Georgia; US Courts of Appeals: Third, Fourth, Fifth, Sixth, Seventh, Tenth,
and Eleventh Circuits; US District Courts: Arkansas (Eastern and Western); Colorado, Georgia (Middle, Northern, and Southern); Illinois
(Central); Michigan (Eastern and Western); New Mexico; Tennessee (Western); and Texas (Eastern, Northern, Southern, and Western).

From: GEARLD KILLEEN <g_killeen@msn.com>

Sent: Wednesday, May 7, 2025 12:53:36 PM

To: jamie mcgowen <jmcgowen27@gmail.com>; Katryna Spearman
<kspearman@lowtherwalker.com>

Subject: Fw: friends of jamie McGowen

Sent from Outlook

From: ahmad moussaoui <amouss123@gmail.com>
Sent: Wednesday, May 7, 2025 12:19 AM

To: g_killeen@msn.com <g_killeen@msn.com>
Subject: friends of jamie McGowen

To Whom it may Concern

This letter is in reference to Jamie McGowen and the quality of her character. | have known
Jamie for a number of years. She was referred to me by her father Gerald Killeen and
throughout the years has become a good friend as well. She has taken care of all my tax needs
for over 10 years now and also was in charge of our company's bookkeeping for 5 years while it
was operational she was always dedicated to providing the best service and | am very happy
and fortunate to have her on my side she is very honest and hardworking and i have never
encountered any problems with her services Jamie has on multiple occasions given support to
my wife, and under different circumstances including the death of a family member and when
one of our children was sick. She not only provided our family with meals and other forms of
care, but also provided emotional support. So much so that our children now call her Auntie!
She has been an excellent role model to our children so much so that we feel extremely
confident and trust to have our children in her care. She is an outstanding mother as well and

1of2
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page13of17

our children have grown close. | feel it is completely out of character for Jamie to do anything
wrong with ill intention. We are all human and nobody is perfect but | absolutely know based on
personal experience that she does the right thing in regard to every situation. If there have ever
been mistakes made by her, that is just what it was, a mistake. Leniency should be given based
on the quality person | feel she is and not based on an individual situation. She is a fun and
outgoing person who would give the shirt off her back to help others. | am fortunate to have her
and a part of my family.

Ahmad Moussaoui

8249 sweetwater creek way

Las Vegas NV. 89113

(702)856-9571

Thank you for your consideration,
Ahmad Moussaoui

2 of 2
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page14of17

To Whom It May Concern,

| had the pleasure of meeting Jamie McGowen in 2017, shortly after | moved to the area. At
that time she was considered to be my boss, but even with that label she always was kind and
compassionate and stood behind her integrity. Even in just passing, she was a person that you
wanted to be near. Over time, our casual acquaintance grew into a true friendship — one that |
treasure deeply. | love spending time with her and her family and on more than one occasion
have considered each them much more than just friends, but my an extension of my own
family.

Jamie has a heart that naturally draws people in. She is endlessly generous with her time, her
encouragement, and her care. | recently was able to get out of an abusive relationship, and
Jamie stepped in when | felt like | was alone. She was there when | was in one of the darkest
parts of my life. | couldn’t have made it without her. Whether you’re a lifelong friend or
someone she just met, she treats you with the same warmth and openness. She truly is
someone you want to have in your circle, | know that | personally have come to depend on
that.

It is truly out of character for Jamie to be involved in anything negative. It’s hard to say exactly
how much Jamie’s goodness shines through in everything she does. She is a woman full of
compassion, integrity, and love for the people around her. | am proud to call her my friend and
grateful for the positive light she brings to everyone she knows, and | hope you will see the
many wonderful sides of who she truly is.

Sincerely,
Becky Peterson
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page 15of17

Your Honor,

My name is Gigliola Rinne. | am writing to you today in regards to my
friend Jaime McGowen. | have known Jaime for 5 years. | met her at her
fathers office and had an immediate connection. We both are raising young
boys. Our friendship over the years has grown through admiration for how
she leads her life. She has a very strong moral character and will always
put others before herself. When | find myself struggling in life she has
become the type of friend who | can reach out to for guidance with no
judgement.

Much of my admiration for her stems from the way her father raised her to
be a fair, truthful and compassionate hard working mother. All of these

characteristics she exudes in her personal and private life.

| ask the court's grace in consideration for my friend's situation knowing in
my heart she would always do what is right.

Thank you,

Gigliola Rinne
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page 16 of17

Your Honor,

My name is Scott Rinne and | am writing to you today regarding Jaime
McGowan. | met Jaime through my wife Gigi. She met her at her fathers
office one day and came home that night to tell me about the wonderful
women she met that day. | met her later and understood why my wife was
impressed with her. Jaime comes across as a person of high moral
character and shows It in her actions. | trust her not only in our personal
interactions but also with our business. She always guides us in doing what
is prudent, legal and moral.

| ask the courts grace in considering this hard working mother who | know
is doing what is just in both her personal and business life.

Thank you,

Scott Rinne
Case 3:22-cr-00360-AN Document 49-1 Filed 05/07/25 Page17of17

Double Eagle Relocation, LLC
1455 Deming Way Unit 21

Sparks, NV 89431
5/5/25

Your Honor,

| first met Jamie McGowen at a USC football game in 2005. We went to many games together
with her family and friends. Jamie is an incredibly kind and giving person. | have come to think
of her as my little sister. | have also seen what an awesome mom she is to her son Colin, and
you can see the love and connection that they have for each other.

Her father, Gerald Killeen, is my accountant and Jamie has taken care of my taxes herself for
many years. During that time, she has been nothing short of a complete professional in dealing
with many changes in my business.

| cannot imagine Jamie knowingly doing anything illegal, immoral or unethical. | ask that your
honor consider this testimony to Jamie’s character and understands that people make innocent
mistakes a lot and show leniency in this matter.

Sincerely

Erik Severson
